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AO 91 (Rev S/Ol) CriminalComplaint

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Umted States Dtstrict Court S°u'h@m gg,ggwftex$'s

soUTHERN DISTRICT or TEXAS JAN 23 wig
McALLEN DIVISION

. David d. Bradley, Clerk
UNlTED sTATES OF AMERICA

V- CRIMINAL COMPLAINT

Juan Car|os Andujar-Sanc:hez

Case Number: M~lS-{)ISS~M

lAE YOB: 1968
Dorninican Republic
(Nnme and Address of l`)ef`endaut)

l, the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief On or about January 27, 2018 ln Hidacqo Coumy, in
the Southern District of
(Track Staznl‘ory Langmge of Ojjrense)

being then and there an alien who had previously been deported from the United States to the Dominican Republie in pursuance of
law, and thereafter Was found near Sullivan City, Texas, within the Southern District ofTexas, the Attorney General ofthe United

States and/or the Secretary of Horneland Security, not theretofore having consented to a reapplication by the defendant for admission
into the United Stntes;

____I§l§§.._____________,__,

in violation of_Title 8 United States Codo, Seotion(s) 1326

l further state that l am a(n) Senior Patrol Agent and that this complaint is based on the _
following facts;

tFelorW)

Juan Carlos Antlujar-Sanchez was encountered by Border Patrol Agents near Sullivan City, Texas on January 27, 2018. The investigating agent
established that the Defendnnt Was an undocumented alien and requested record checks. The Det'endant claims to have illegally entered the United
States on Janunry 27, 2018, near Rio Grande City, Texas. Record checks revealed the Defendant was formally Deported/Excluded from the United
States on January 23, 1998 through Newark, New Jersey. Prier to Deportation/Exclusion the Det'endant was instructed not to return to the United
States without permission from the U.S. Attorney General andlor the Secretary of Homeland Security. On July 29, 1996, the defendant was
convicted of 21 USC 84l(a)(l) &(b)(l)(B), 21 USC 846 and 18 USC 911, Possession with intent to distribute cocaine, Conspiracy with intent to
distribute cocaine and false representation ofU.S. citizenship and sentenced to thirty-seven (37) months confinement for counts l and 2, thirty~six

(36) months on count3 to be served concurrently; t`ive (5) years supervised release term on each oftounts l and 2 and one (l) year on count 3 to be
served concurrently

l declare under penalty ot perjury that the statements in this complaint are true and correct. Executed on january 28, 2018.

Continued on the attached sheet and made a part of this complaint UYes lNo

Submr'tteo‘ by reliable electronic means sworn to find attested to
telephonicolly per Fed. R. Cr. P. 4.1, and probable cousefound orl:

 

/S/Jayson Springer
Sworn to before me ;.. ' " ' ` . ’ t Signature of Complainant
January 28, 2018 328 p-m' Jayson Springer Senior Patrol A ont

    

 

Peter E_ Ormsby , U.S. Magistrate dodge %

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